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                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                             UNITED STATES BANKRUPTCY COURT                                            April 11, 2023
                               SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                                              §
 MONTROSE MULTIFAMILY                               §        CASE NO. 22-90323
 MEMBERS, LLC, et al.,                              §        (Jointly Administered)
                                                    §
                                                    §        CHAPTER 11
DEBTORS. 1                                          §

              ORDER DISMISSING CASE WITH 90-DAY BAR TO REFILING

        ON THIS DATE the Court conducted a status conference, and the parties represented that
Debtors’ real property assets were sold by foreclosure pursuant to the terms of the Agreed Order
Modifying Automatic Stay with Respect to Debtors’ Properties (the “Agreed Order Modifying
Stay”) [ECF # 123]. In accordance with the Agreed Order Modifying Stay, the Court finds that
there is cause to dismiss these cases with prejudice, therefore it is hereby

       ORDERED that the above-entitled chapter 11 cases are hereby dismissed as of April 4,
2023, with prejudice to re-filing for a period of 90 days; it is further

         ORDERED that the Debtors shall file, within fourteen (14) days of entry of this Order,
all outstanding operating reports, pursuant to Federal Rule of Bankruptcy Procedure 2015(a)(5);
it is further

        ORDERED that the Debtors shall pay within twenty (20) days of the entry of this Order
to the United States Trustee the appropriate quarterly fees which are due and payable pursuant to
28 U.S.C. § 1930(a)(6), if any. The payment must reflect Debtor’s case number and be remitted
either electronically through pay.gov at https://www.pay.gov/public/form/start/672415208; or by
mail to the U.S. Bank lockbox at United States Trustee Payment Center, P.O. Box 6200-19,
Portland, OR 97228-6200; and it is further

        ORDERED that this Court retains jurisdiction to enforce the terms of this Order.


   Signed: April 11, 2023.
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                                                        ____________________________________
                                                        DAVID R. JONES
                                                        UNITED STATES BANKRUPTCY JUDGE
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 The Debtors in these Chapter 11 cases (together, the “Chapter 11 Cases”), along with the last four digits of each
Debtors’ federal tax identification number, are: Montrose Multifamily Members II, LLC (5725); Colquitt 2008, LP
(6108); Westmoreland Partners, LLC (1492); Graustark Members II, LLC (1605); Kipling Partners LLC (2339); MT
Vernon Members, LLC (5014); and Norfolk Partners LLC (3182). The location of Debtor Montrose Multifamily
Members, LLC’s principal place of business and the Debtors’ service address is 4203 Montrose Blvd., Suite 400,
Houston, Texas 77006.

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APPROVED, AGREED TO, AND ENTRY REQUESTED:


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